  8:07-cr-00176-JFB-TDT        Doc # 28     Filed: 07/23/07    Page 1 of 1 - Page ID # 79




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                         )
                                                  )
                     Plaintiff,                   )             8:07CR176
                                                  )
       vs.                                        )               ORDER
                                                  )
CHARLES GOODWIN,                                  )
                                                  )
                     Defendant.                   )


       This matter is before the court on the motion of defendant Charles Goodwin
(Goodwin) to sever the trial of the charge in Count VI of the Indictment from the trial on the
charges in Counts I - V of the Indictment (Filing No. 23). The government has conceded
the motion (Filing No. 27). Accordingly, Goodwin’s motion for severance (Filing No. 23) is
granted, and the trial of the charges in Counts I - V of the Indictment shall be separate from
the trial of the charge in Count VI of the Indictment. Goodwin’s request for an evidentiary
hearing and argument on the motion is denied as moot. The hearing scheduled for 10:00
a.m. on July 25, 2007, is canceled.
       IT IS SO ORDERED.
       DATED this 23rd day of July, 2007.
                                                  BY THE COURT:
                                                  s/Thomas D. Thalken
                                                  United States Magistrate Judge
